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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW HAMPSHIRE


 GREAT NEW HAMPSHIRE
 RESTAURANTS, INC.,
                                                      Case No.
                        Plaintiff,

                V.

 GRUBHUB, INC.,

                        Defendant.



                                          COMPLAINT

       The plaintiff Great New Hampshire Restaurants, LLC ("Plaintiff' or "GNHR"), by its

undersigned attorneys Rath, Young, and Pignatelli P.C., for its complaint against the defendant

GrubHub, Inc. ("GrubHub" or '"Defendant") alleges as follows:

                                       NATURE OF CASE
        1.      This is an action of willful trademark infringement, unfair competition, injury to

business reputation, and false and deceptive business practices, all in violation of the laws of the

United States and the state of New Hampshire. Plaintiff seeks a permanent injunction, damages,

including the profits of GrubHub, trebled under the law, punitive damages, and related relief as

more fully described herein.

                                          THE PARTIES

       2.       Plaintiff is a limited liability company operating under the laws of New

Hampshire having its principal place of 12 Aspen Lane, Bedford, New Hampshire 03031.

       3.       Upon information and belief, GrubHub is a California company with a principle

place of business at 111 W. Washington Street, Suite 2100, Chicago, Illinois 60602.

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                                  JURISDICTION AND VENUE

        4.      This Court has subject matter jurisdiction under section 39 of the Lanham Act, 15

U.S.C. § 1121, sections 1332(a), 1338(a) and 1338(b) of the Judicial Code, 28 U.S.C. § 1338(a)

and§ 1338(b). This Court has subject matter jurisdiction over the non-federal claims asserted

herein pursuant to section 1367 of the Judicial Code, 28 U.S.C. § 1367(a), which provides

supplemental jurisdiction.

        5.      Personal jurisdiction over GrubHub is proper because GrubHub is conducting

business in this judicial district and committing torts in this state, including without limitation

GrubHub's trademark infringement, unfair competition, and deceptive trade practices, which

cause harm in this state and in this judicial district.

        6.      Venue properly lies in the judicial district under sections 13 91 (b) and (c) of the

Judicial Code, 28 U.S.C. § 1391(b) and (d), because a substantial portion of the events at issue

have arisen and/or will arise in this judicial district and because this Court has personal

jurisdiction over GrubHub. In a trademark infringement lawsuit, a substantial part of the evehts

giving rise to the claim occurs in any district in which consumers are likely to be confused by the

infringing goods er services, whether that occurs in one district or many districts.


                      FACTS COMMON TO ALL CLAIMS FOR RELIEF

A.      Plaintiff's Business and Trademarks

        7.      GNHR operates a number of popular restaurants in New Hampshire under the

following trademarks: COPPER DOOR®, CHEF NICOLE'S® (the "Registered GNHR

Marks"), CJ'S™, T-BONES™, and CACTUS JACK'S™ (the "Unregistered GNHR Marks" and

together with the Registered GNHR Marks, collectively, the "GNHR Marks").

        8.      GNHR has been using the GNHR Marks continuously for many years in


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connection with restaurant services and has invested considerable time, money and other

resources in connection with the sale and advertising of its restaurant services in connection with

the GNHR Marks.

       9.       The GNHR Marks each serve as unique signifiers of the quality, reputation and

goodwill of GNHR in the marketplace.

       10.      Plaintiff uses its GNHR Marks by displaying them on menus, signage,

promotional materials, advertising materials, and websites.

       11.      Over the years, Plaintiff has invested millions of dollars in the promotion and

advertising of products and services sold under the GNHR Marks in New Hampshire and its

surrounding states to create a strong association between Plaintiff's products and services and the

GNHRMarks.

       12.      The care and skill exercised by Plaintiff in conducting its business has resulted in

the high quality of the products and services offered under its GNHR Marks.

        13.      As a result of the extensive advertising, sale and promotion of Plaintiff's products

and services, its GNHR Marks have acquired secondary meaning throughout the area whereby

the GNHR Marks are widely recognized by the general consuming public in New Hampshire and

its surrounding states as a signifying Plaintiff as the unique source of the goods and services sold

in connection with the GNHR Marks.

        14.     The GNHR Marks are strong and warrant broad protection in both related and

unrelated product and/or service classes.




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B.      GrubHub's Infringing Conduct

        15.     Upon information and belief, GrubHub is a food delivery business that promises

its customers fast delivery from restaurants located throughout New Hampshire and surrounding

states, including GNHR restaurants.

        16.      GNHR is in no way affiliated with GrubHub but, upon information and belief,

GrubHub causes customers to falsely believe that GrubHub has a relationship with GNHR

because certain GNHR menus and Marks appear on GrubHub's website and app, most recently

COPPER DOOR and T-BONES menus and Marks but, upon information and belief, other

GNHR Marks as well.

        17.      GrubHub implies that restaurants listed on its website are "partner restaurants" by

stating "Partner with us" with a "For Restaurants" link provided below. Upon information and

belief, consumers assume that restaurants available on the GrubHub website or app are "partner

restaurants."

        18.      Upon information and belief, GNHR customers see GNHR Marks and menus at

the GrubHub website or app that they want to order and they then provide a debit or credit card

to GrubHub for payment of GNHR goods and services.

        19.     Upon information and belief, customers pay GrubHub directly for certain GNHR

products and services whereupon GrubHub then orders those products and services from GNHR

and pays GNHR when its delivery drivers pick up the food for delivery to GNHR customers.

However, the GNHR menus provided by GrugHub to not always match the menus in use by

GNHR.

        20.      GrubHub's use of GNHR Marks has and is likely to continue to confuse and

mislead consumers into believing that GrubHub's services are sponsored by, licensed from or



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otherwise affiliated with GNHR and GrubHub's products and services adhere to the high

standards expected from GNHR.

        21.       Upon information and belief, GrubHub's products and services do not adhere to

the high standards expected of GNHR products and services.

        22.       Upon information and belief, GrubHub's delivery personnel do not use vehicles

designed for the transportation of cooked food, putting GNHR at risk for claims by customers

relating to the quality of its food products.

        23.       GNHR cannot control how GrubHub cares for its food products during the

delivery process by GrubHub. GNHR has no control over GrubHub, including the time and

manner its deliveries or whether GrubHub regularly complies with the applicable health and

sanitary codes.

        24.       GrubHub places GNHR at risk for customer complaints, which would

substantially damage GNHR's business reputation, and would result in irreparable damages and

financial loss.

        25.       Indeed, staff at GNHR's CJ'S™ restaurant and its T-BONES™ restaurant

received customer complaints regarding GrubHub services under the mistaken belief that GNHR

is responsible for the poor service provided by GrubHub.

        26.       Accordingly, GNHR has on more than one occasion asked GrubHub to remove

GNHR restaurants from GrubHub's offerings.

        27.       While representatives at GrubHub represented that GrubHub would cease

advertising on its website that it delivered from GNHR restaurants, GNHR later found continued

use of certain GNHR Marks on GrubHub's website, namely T-BONES™ and COPPER

DOOR®.



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        28.     Upon information and belief, GrubHub's use of these GNHR Marks is

intentionally and willfully meant to confuse and mislead consumers as to GrubHub's affiliation

with GNHR restaurants.

                                     COUNTI
                         FEDERAL TRADEMARK INFRINGEMENT
                                  (violation of 15 U.S.C. §1114)

        29.      GNHR incorporates the above paragraphs of the complaint as if separately set

forth herein.

        30.     The Registered GNHR Marks, including the registered COPPER DOOR® mark,

are registered with the United States Patent and Trademark Office and are valid and enforceable

trademarks exclusively owned and continuously used by GNHR.

        31.      Long after GNHR's first use of the Registered GNHR Marks, including the

registered COPPER DOOR® mark, GrubHub began use of the Registered GNHR Marks,

including its current use of the registered COPPER DOOR® mark, in connection with the

advertising and promotion of GrubHub' s restaurant services.

        32.      GNHR did not authorize GrubHub to use the Registered GNHR Marks, including

the registered COPPER DOOR® Mark, in connection with the advertising and promotion of

GrubHub's restaurant services.

        33.      Upon information and belief, GrubHub's unauthorized use of the Registered

GNHR Marks, including its current use of the registered COPPER DOOR® mark, will likely

cause confusion, mistake, or deception in the relevant consumer market unless GrubHub is

permanently enjoined.

        34.      Upon information and belief, GrubHub's unauthorized use of the Registered

GNHR Marks, including its current use of the COPPER DOOR® mark, constitutes trademark



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infringement is in violation of 15 U.S.C. §§ 1114 and 1117.

       35.      GrubHub has willfully infringed the Registered GNHR Marks and is willfully

infringing the COPPER DOOR® mark in connection with restaurant services business and has

and is doing so in bad faith.

        36.     GrubHub's infringing acts have caused and will continue to cause GNHR to

suffer irreparable injuries to its reputation and goodwill. Plaintiff does not have an adequate

remedy at law to recover for this harm and is therefore entitled to injunctive relief.



                                             COUNT II
                                FEDERAL UNFAIR COMPETITION
                                  (violation of 15 U.S.C. §1125(a))

        37.      GNHR incorporates the above paragraphs of the complaint as if separately set

forth herein.

        38.      Upon information and belief, GrubHub's unauthorized use of the Unregistered

GNHR Marks, including the T-BONES™ and CJ'S™ marks, in connection with its food

delivery services constitutes a false designation of origin, a false or misleading description of

fact, and/or false or misleading representation of fact, and has caused and is likely to cause

confusion, mistake, and/or deception as to the affiliation, connection or association of GNHR

with GrubHub, the origin, sponsorship or approval of GrubHub's use of the Unregistered GNHR

Marks, including its current use of the T-BONES™ and CJ'S™ marks, and the nature,

characteristics, or qualities of services offered by GrubHub.

        39.      GrubHub's conduct as alleged herein constitutes unfair competition and false

designation of origin in violation of section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

        40.      GrubHub's violation of section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a) is



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willful and done in bad faith.

          41.     GNHR has no adequate remedy at law. If GrubHub is not enjoined from further

use of the Unregistered GNHR Marks, including the T-BONES™ and CJ'S™ marks, GNHR

will suffer substantial and irreparable injury to its business reputation and the goodwill

associated with the T-BONES™ and CJ'S™ marks.



                                            COUNTIII
                                 DECEPTIVE TRADE PRACTICES
                                     (violation of RSA 358-A)

          42.     GNHR incorporates the above paragraphs of the complaint as if separately set

forth herein.

          43.     GrubHub's actions in passing off their services for GNHR's services through the

use of deception constitutes an unfair and deceptive trade practice as defined in RSA 358-A:2, I-

III, V.

          44.      GrubHub's actions intentionally misinforms consumers in the New Hampshire

marketplace.

          45.      Such actions are, in addition, sufficiently rascalous to constitute unfair and

deceptive acts, notwithstanding the categories in RSA 358-A:2.

          46.      GrubHub's deceptive actions are willful and knowing.

          47.      Pursuant to RSA 358-A:10, GNHR is entitled to injunctive relief and to the

amount of actual damages. GrubHub's actions under this statute were willful allowing for the

Plaintiff to receive up to 3 times, but not less than 2 times, the amount of actual damages and

recovery of costs and attorney fees.




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                                       PRAYER FOR RELIEF

WHEREFORE Plaintiff prays for the following relief.

        A.      For judgment that:

                1.     GrubHub has engaged in infringement in violation of 15 U.S.C. 1114;

                2.     GrubHub has engaged in unfair competition in violation of 15 U.S.C.

                        1125(a); and

                3.     GrubHub has engaged in deception trade practices in violation of RSA

                        358-A.

        B.      For a permanent injunction enjoining GrubHub, and any successors or assigns,

and its principals, officers, partners, agents, subcontractors, servants, employees, attorneys,

affiliates, licensees, subsidiaries and related companies or entities, and all others acting in active

concert or participation with it who receive actual notice of the Court's order by personal

service or otherwise, from:

                1.     Using the GNHR Marks, or any simulation, reproduction, copy, colorable

                        imitation or confusingly similar variation of the GNHR Marks in or as

                       part of a design, logo, domain name, or trademark; using any such mark

                        in connection with the promotion, advertisement, sale, offering for sale,

                       manufacture, production, or distribution of any business, product, or

                       service; and from using any such mark on or as feature of any product;

                2.     Passing off, inducing, or enabling others to pass off, sell, offer, distribute,

                       disseminate, or otherwise provide any product that bears the GNHR

                       Marks, or any mark that is a simulation, reproduction, copy, colorable

                       imitation, or confusingly similar variation thereof; and



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                  3.     Otherwise competing unfairly with GNHR in any manner.

          C.      For an order that: 1) Defendant account for and pay over to GNHR the amount of

any profits realized by GrubHub by reason of Defendant's unlawful and willful acts as alleged

herein; 2) GNHR be awarded actual damages suffered by reason of GrubHub's unlawful and

willful acts as alleged herein, including profits realized by GrubHub, to be increased by a sum

equal to three times the amount thereof as provided by law; 3) GNHR be awarded interest,

including prejudgment interest, on all damages sums; 4) GNHR be awarded its costs and

reasonable attorney's fees and have such other and further relief as the Court may deem

equitable, including, but not limited to, any relief set forth under 15 U .S.C. §§ 1116-1118; and

GNHR be awarded actual and punitive damages as provided for under applicable federal and

state law.

          D.      For an order directing, the destruction of all packaging and any printed material,

including advertising materials and point-of-sale displays, bearing the GNHR Marks in

Defendant's possession or control; and publicly acknowledging the wrongful activities alleged

herein.

          E.      For an order directing GrubHub to file with the Court and serve upon GNHR

within thirty (30) days after service of the injunction upon GrubHub, a report in writing and

under oath setting forth in detail the manner and form in which GrubHub has complied with the

injunction.

          F.      For such other and further relief as the Court shall deem appropriate.




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                                     JURY DEMAND

       GNHR hereby demands a trial by jury pursuant to Rule 38 of the Federal Rules of Civil

Procedure.



Dated: February 24, 2020
                                            Respectfully submitted,

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